Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52               Page 1 of
                                            56



                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

 IN RE:                       )
                              )                             Case No. 19-00730-5-JNC
 CAH ACQUISITION COMPANY #1, )
 LLC, d/b/a WASHINGTON COUNTY )                             Chapter 11
 HOSPITAL,                    )
                              )
            Debtor.           )
                              )

                    MOTION TO EMPLOY GRANT THORNTON LLP
                   AS FINANCIAL CONSULTANT FOR THE TRUSTEE

       Thomas W. Waldrep, Jr., trustee in the above-captioned case (the “Trustee”), hereby moves

for the entry of an Order pursuant to Section 327(a) of Title 11 of the United States Code, 11

U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Rule 2014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) authorizing the employment of the firm of Grant Thornton

LLP (“Grant Thornton”) to provide financial advisory services and related information

management services to the Trustee, effective as of February 19, 2019. In support of this Motion,

the Trustee refers to and relies upon the Affidavit of Scott B. Davis in Support of Motion to Employ

Grant Thornton LLP as Financial Consultant for the Trustee (the “Davis Affidavit”), attached

hereto as Exhibit A, and respectfully states as follows:

                                JURISDICTION AND VENUE

       1.      This United States Bankruptcy Court for the Eastern District of North Carolina (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and this matter

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief requested herein are Section 327(a) of the



                                                 1
Case 19-00730-5-JNC      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52           Page 2 of
                                          56



Bankruptcy Code and Bankruptcy Rule 2014.

                                FACTUAL BACKGROUND

       4.      An involuntary Chapter 7 petition was filed against CAH Acquisition Company #1,

LLC (“CAH 1” or “Debtor”) on February 19, 2019. Thomas W. Waldrep, Jr. was appointed as

Trustee on February 22, 2019.

       5.      On March 15, 2019, the Court entered an Order converting CAH 1’s involuntary

Chapter 7 case to a Chapter 11 case and appointing Thomas W. Waldrep, Jr. as Trustee of the

Chapter 11 estate.

       6.      On March 17, 2019, CAH Acquisition Company #2, LLC (“CAH 2”) filed a

petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

Jr. was appointed as Chapter 11 Trustee on March 18, 2019.

       7.      On March 14, 2019, CAH Acquisition Company #3, LLC (“CAH 3”) filed a

petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

Jr. was appointed as Chapter 11 Trustee on March 15, 2019.

       8.      On March 17, 2019, CAH Acquisition Company #4, Inc. (“CAH 4”) filed a petition

for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep, Jr. was

appointed as Chapter 11 Trustee on March 18, 2019.

       9.      On March 21, 2019, CAH Acquisition Company 6, LLC (“CAH 6”) filed a petition

for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep, Jr. was

appointed as Chapter 11 Trustee on March 29, 2019.

       10.     On March 21, 2019, CAH Acquisition Company 7, LLC (“CAH 7”) filed a petition

for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep, Jr. was

appointed as Chapter 11 Trustee on March 29, 2019.



                                              2
Case 19-00730-5-JNC       Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52               Page 3 of
                                           56



       11.     On March 17, 2019, CAH Acquisition Company 12, LLC (“CAH 12”) filed a

petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

Jr. was appointed as Chapter 11 Trustee on March 18, 2019.

       12.     On March 17, 2019, CAH Acquisition Company 16, LLC (“CAH 16”) filed a

petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

Jr. was appointed as Chapter 11 Trustee on March 18, 2019.

                                    RELIEF REQUESTED

       13.     Pursuant to Section 327(a) of the Bankruptcy Code and Bankruptcy Rule 2014, the

Trustee requests the Court enter an Order: (i) authorizing the employment and retention of Grant

Thornton as financial consultant for the Trustee in the instant case pursuant to the terms and

conditions of that certain engagement letter dated March 11, 2019 by and between the Trustee and

Grant Thornton (the “Engagement Letter”), attached hereto as Exhibit B; (ii) approving the terms

of Grant Thornton’s employment, including the proposed fee structure set forth in the Engagement

Letter; (iii) authorizing the Trustee on behalf of the Debtors to enter into a Business Associate

Agreement for Health Care Providers (a “BAA”) with Grant Thornton, the form of which is attached

to the Engagement Letter; and (iv) granting such other and further relief as the Court deems

appropriate. The Trustee requests that Grant Thornton’s employment be deemed effective as of

February 19, 2019.

       A.      Selection of Grant Thornton

       14.     The Trustee seeks to retain Grant Thornton as financial consultant because of its

extensive expertise in the financial and reporting aspects of a Chapter 11 proceeding, specifically

one dealing with a healthcare debtor.

       15.     Grant Thornton is a national accounting and consulting firm that has significant



                                                3
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                Page 4 of
                                            56



experience in corporate restructurings, operations improvement, litigation analytics, valuations,

and bankruptcy case management services. Grant Thornton has extensive experience working

with and for distressed companies in complex financial and operational restructurings, both out-of-

court and in Chapter 11 proceedings throughout the United States. Scott B. Davis, the lead Grant

Thornton partner in this engagement, has provided a full range of restructuring services throughout

the United States to underperforming healthcare debtors in financially-troubled situations. Mr. Davis

has extensive experience in interim management and debtor advisory work; bankruptcy preparation

and management; litigation support; post-merger integration and debt restructuring and refinancing.

       16.     For the foregoing reasons, the Trustee believes that Grant Thornton is both well

qualified and able to assist the Trustee in this Chapter 11 proceeding in an efficient and timely

manner.

       B.      Scope of Services to Be Rendered

       17.     Grant Thornton’s services are necessary and essential to enable the Trustee to

faithfully fulfill his duties as Trustee. Mr. Davis is the principal professional responsible for the

engagement and is supported by other experienced Grant Thornton professionals. Additional

Grant Thornton staff are available and will be deployed as necessary to serve the Trustee during

this Chapter 11 case pursuant to the terms of the Engagement Letter.

       18.     Working under the direction of the Trustee and collaboratively with the Trustee’s

counsel and other professionals, Grant Thornton will provide the following services:

       a)      Analyze the Debtor’s financial position, business plans, and financial projections
               prepared by management including, but not limited to, commenting on assumptions
               and comparing those assumptions to historical Debtor and industry trends;

       b)      Consult with the Trustee on the assessment of a bankruptcy exit strategy;

       c)      Consult with the Trustee in connection with the development of financial
               projections;


                                                 4
Case 19-00730-5-JNC    Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                 Page 5 of
                                        56




      d)    Assist the Trustee with its communications with patients, suppliers, statutory
            committees, and other parties-in-interest;

      e)    Analyze the Debtor’s rolling 13-week cash receipts and disbursements forecast and
            assess liquidity and DIP financing needs;

      f)    Consult with the Trustee regarding their valuation of the Debtor on a going-concern
            and liquidation basis;

      g)    Consult with the Trustee, in coordination with legal counsel, in the preparation of
            a disclosure statement, plan of reorganization and the underlying business plans
            from which those documents are developed;

      h)    Assist the Trustee, in coordination with legal counsel, in evaluating competing
            disclosure statements, plans and other strategic proposals made by the Committee
            of Unsecured Creditors or other interested parties in this Chapter 11 case;

      i)    Assist the Trustee in responding to information requests submitted by statutory
            committees and their legal and/or financial counsel;

      j)    Assist the Trustee with its vendor management program;

      k)    Consult with the Trustee regarding the preparation of required financial statements,
            schedules of financial affairs, monthly operating reports, and any other financial
            disclosures required by the Court;

      l)    Provide expert advice and testimony regarding financial matters related to,
            including, among other things, the feasibility of any proposed plan of
            reorganization, and the valuation of any securities issued in connection with any
            such plan;

      m)    Analyze the Debtor’s Information Technology (“IT”) infrastructure, storage media,
            and third-party systems;

      n)    Consult with the Trustee on the assessment of Debtor’s IT systems;

      o)    Consult with the Trustee in connection with the development of data-preservation
            and data-collection efforts described in the Statement of Work dated April 4, 2019;

      p)    Provide digital forensic and related services (including, but not limited to, forensic
            preservation and collection of electronic data), to be performed at the direction of
            the Trustee;

      q)    Assist the Trustee with its communications with third-party IT providers and other
            parties-in-interest;


                                              5
Case 19-00730-5-JNC       Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52            Page 6 of
                                           56




       r)     Assist the Trustee in responding to information requests submitted by statutory
              committees and their legal and/or financial counsel; and

       s)     Provide additional services as requested from time to time by the Trustee and
              agreed to by Grant Thornton.

       C.     Professional Fees and Expenses

       19.    Pursuant to the terms and conditions of the Engagement Letter, Grant Thornton has

agreed to accept payment for services provided to the Trustee, in this case at about 73% of its

standard rates. A copy of the Engagement Letter is attached hereto as Exhibit B.

       20.    The fee schedule setting forth Grant Thornton’s standard rates and the applicable

discounted rates is included in the Engagement Letter and may be summarized as follows:

       Classification                Standard Hourly Rates        Discounted Hourly Rates
       Partner / Principal                  $870                          $620
       Managing Director                    $800                          $620
       Director                             $710                          $500
       Senior Manager                       $710                          $500
       Manager                              $590                          $450
       Senior Associate                     $450                          $310
       Associate                            $320                          $250

       21.    In addition, Grant Thornton’s fees for certain forensic technology services, which

fees are set forth in more detail in Attachment B to the Statement of Work dated April 4, 2019,

may be summarized as follows:
        Database Fees
        Standard Database Set-Up                     $2,250 per database
        Standard Database Hosting                    $750 per month
        Encrypted Database Set-up & Hosting          $4,500 per month per database
        Database Archiving                           $250 per month per database

        Data Visualization Fees
        Visualization Server Site Set-up             $2,500 per site
        Visualization User Licensure                 $500 per user, per month

        Evidence Collection Fees
        Forensic Imaging                             $800 – $1,250 per Device/Drive (up to 2
                                                     TB)

                                               6
Case 19-00730-5-JNC          Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                Page 7 of
                                              56



         Server Share Logical Image                      $1,000 – $1,200 per Server Share
         Backup Tape File Listing                        $150 – $200 per Backup Tape
         Backup Tape Data Extraction                     $250 – $300 per Backup Tape

         Data Processing
         Processing Set-Up                               $500 per Logical Unit
         Processing & Review Promotion                   $75 – $150 per GB
         Optical Character Recognition                   $35 per GB
         Load File Creation                              $150 per GB
         Machine Translation                             $0.12 – $0.15 per file
         Load File Ingestion                             $125 per GB

         Data Analytics, Hosting, and Review
         Document Imaging                                No unit-based charge
         Conceptual Analytics / Assisted Review          $200 per GB
         User Licensing                                  $100 per user per month
         Offline Hosting                                 $5 per GB per month
         Data Hosting                                    $10 – $35 per GB per month

        22.     Grant Thornton also will seek reimbursement of all necessary out-of-pocket

business expenses incurred in connection with this matter and a six percent administrative charge

to cover administrative overhead.

        23.     Grant Thornton intends to apply to the Court for the payment of compensation for

services rendered and reimbursement of actual and necessary out-of-pocket expenses in

accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the

Local Rules of this Court.

        24.     As described more fully in the Davis Affidavit in support of this Motion, the terms

of compensation reflected in the attached Engagement Letter are consistent with, and typical of,

engagements entered by Grant Thornton and other financial consultants when rendering financial

consulting services for clients similar to the Trustee, both inside and outside of bankruptcy. The terms

of the Engagement Letter were negotiated between the Trustee and Grant Thornton and reflect the

work to be performed by Grant Thornton in this Chapter 11 case and the firm’s expertise.

        25.     Grant Thornton has agreed to accept as compensation such sums as may be allowed

                                                   7
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                 Page 8 of
                                            56



by the Court on the basis of the professional time spent, the rates charged for such services, the

necessity of such services to the administration of the estate, the reasonableness of the time within

which the services were performed in relation to the results achieved, and the complexity,

importance, and nature of the problems, issues, or tasks addressed in the case. Grant Thornton has

prepared the Davis Affidavit, which discloses the information relevant to this Motion pursuant to

Bankruptcy Rules 2014 and 2016. The Davis Affidavit is attached hereto as Exhibit A.

       D.      Disinterestedness of Professionals

       26.     To the best of the Trustee’s knowledge, information, and belief, based on and

except as set forth in the Davis Affidavit, Grant Thornton does not hold or represent any interest

adverse to the Trustee or the Debtor, its creditors, or other parties-in-interest in connection with

the Trustee, the Debtor, and this Chapter 11 case, and is a “disinterested person” as that term is

defined by Bankruptcy Code Section 101(14), as modified by Bankruptcy Code Section 1107(b).

More specifically, as set forth in the Davis Affidavit, Grant Thornton, its members, and its

employees:

       a)      are not creditors, equity security holders, or insiders of the Trustee or the Debtor;

       b)      are not and were not, within 2 years before the date of the filing of the Debtor’s
               Chapter 11 petitions, directors, officers, or employees of the Trustee or the Debtor;
               and

       c)      do not have an interest materially adverse to the interest of the estate or of any class
               of creditors or equity security holders, by reason of any direct or indirect
               relationship to, connection with, or interest in, the Debtor, or for any other reason.

       27.     Based on and as set forth in the Davis Affidavit, Grant Thornton informed the

Trustee that Grant Thornton has assessed, and will continue to assess, any and all client

relationships to ensure that Grant Thornton does not represent any interests adverse to Trustee or

the Debtor, its creditors, or other parties-in-interest and that no disqualifying circumstances exist,



                                                  8
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                Page 9 of
                                            56



and further, that Grant Thornton shall disclose on an ongoing basis any relationship that my reflect

upon Grant Thornton’s disinterestedness. The Trustee understands that to the extent Grant

Thornton discovers any additional facts bearing upon matters described herein or its engagement

by the Trustee during the period of its employment, Grant Thornton promptly will disclose such

facts and supplement the information contained in this Motion and the Davis Affidavit.

       28.     Grant Thornton has not been retained to assist any entity or person other than the

Trustee on matters relating to, or in connection with, the Trustee and this Chapter 11 case. If this

Court approves the proposed retention and employment of Grant Thornton by the Trustee, Grant

Thornton will not accept any engagement or perform any service for any entity or person other

than the Trustee related to this Chapter 11 case. Grant Thornton will, however, continue to provide

professional services to, and engage in commercial or professional relationships with, entities or

persons that may be creditors of the Debtor or parties-in-interest in this Chapter 11 case; provided,

however, that such services do not relate to, or have any connection with, the Debtor and this

Chapter 11 case.

       29.     The Trustee has been advised that Grant Thornton will not share any compensation

to be paid on behalf of the Trustee in connection with services to be performed with any other

person or entity, other than other professionals of Grant Thornton, to the extent required by

Bankruptcy Code Section 504.

                                         CONCLUSION

       WHEREFORE, the Trustee requests that this Court enter an Order (i) authorizing the

employment and retention of Grant Thornton as financial consultant for the Trustee in this case

pursuant to the terms and conditions of the Engagement Letter, effective as of February 19, 2019;

(ii) approving the terms of Grant Thornton’s employment, including the proposed fee structure set



                                                 9
Case 19-00730-5-JNC         Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                Page 10 of
                                             56



 forth in the Engagement Letter; (iii) authorizing the Trustee on behalf of the Debtors to enter into a

 Business Associate Agreement for Health Care Providers (a “BAA”) with Grant Thornton, the form

 of which is attached to the Engagement Letter; and (iv) granting such other and further relief as the

 Court deems appropriate.

        Respectfully submitted, this the 10th day of April, 2019.

                                         WALDREP LLP

                                         /s/ Thomas W. Waldrep, Jr.         ____________
                                         Thomas W. Waldrep, Jr. (N.C. State Bar No. 11135)
                                         James C. Lanik (N.C. State Bar No. 30454)
                                         Jennifer B. Lyday (N.C. State Bar No. 39871)
                                         Francisco T. Morales (N.C. State Bar No. 43079)
                                         Anne H. Phillips (N.C. State Bar No. 48760)
                                         John R. Van Swearingen (N.C. State Bar No. 53646)
                                         101 S. Stratford Road, Suite 210
                                         Winston-Salem, NC 27104
                                         Telephone: 336-717-1440
                                         Telefax: 336-717-1340
                                         Email: notice@waldrepllp.com




                                                  10
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 11 of
                                       56



                              EXHIBIT A
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52               Page 12 of
                                            56



                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

  IN RE:                       )
                               )                             Case No. 19-00730-5-JNC
  CAH ACQUISITION COMPANY #1, )
  LLC, d/b/a WASHINGTON COUNTY )                             Chapter 11
  HOSPITAL,                    )
                               )
             Debtor.           )
                               )

     AFFIDAVIT OF SCOTT B. DAVIS IN SUPPORT OF MOTION TO EMPLOY
    GRANT THORNTON LLP AS FINANCIAL CONSULTANT FOR THE TRUSTEE

        I, Scott B. Davis, do solemnly depose and declare as follows:

         1.     I am a Partner at Grant Thornton LLP (“Grant Thornton”), with offices located at

 201 S. College St., Charlotte, NC 28244. I specialize in corporate restructuring and financial

 advisory services to financially troubled organizations, specifically in the healthcare and not-for-

 profit sectors. Grant Thornton is the United States member firm of Grant Thornton International.

 Grant Thornton is a firm of independent public accountants as defined under the Code of

 Professional Conduct of the American Institute of Certified Public Accountants and Consultants.

         2.     I am fully familiar with the facts hereinafter and submit this affidavit (the

 “Affidavit”) in connection with the Motion to Employ Grant Thornton LLP as Financial

 Consultant for the Trustee (the “Motion”) pursuant to Section 327(a) of the Bankruptcy Code and

 Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure.

         3.     To the extent that any information disclosed herein requires amendment or

 modification upon Grant Thornton’s receipt of additional information or as additional information

 becomes available, a supplemental affidavit will be submitted to the Court.

                                 Professional Fees and Expenses



                                                  1
Case 19-00730-5-JNC       Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52             Page 13 of
                                           56



        4.     Pursuant to the terms and conditions of that certain engagement letter dated March

 11, 2019 by and between the Trustee and Grant Thornton (the “Engagement Letter”), Grant

 Thornton has agreed to accept payment for services provided to the Trustee, in this case at about

 73% of its standard rates. A copy of the Engagement Letter is attached to the Motion as Exhibit

 B.

        5.     The fee schedule setting forth Grant Thornton’s standard rates and the applicable

 discounted rates is included in the Engagement Letter and may be summarized as follows:

        Classification                 Standard Hourly Rates        Discounted Hourly Rates
        Partner / Principal                   $870                          $620
        Managing Director                     $800                          $620
        Director                              $710                          $500
        Senior Manager                        $710                          $500
        Manager                               $590                          $450
        Senior Associate                      $450                          $310
        Associate                             $320                          $250

        6.     In addition, Grant Thornton’s fees for certain forensic technology services, which

 fees are set forth in more detail in Attachment B to the Statement of Work dated April 4, 2019,

 may be summarized as follows:

        Database Fees
        Standard Database Set-Up                     $2,250 per database
        Standard Database Hosting                    $750 per month
        Encrypted Database Set-up & Hosting          $4,500 per month per database
        Database Archiving                           $250 per month per database

        Data Visualization Fees
        Visualization Server Site Set-up             $2,500 per site
        Visualization User Licensure                 $500 per user, per month

        Evidence Collection Fees
        Forensic Imaging                             $800 – $1,250 per Device/Drive (up to 2
                                                     TB)
        Server Share Logical Image                   $1,000 – $1,200 per Server Share
        Backup Tape File Listing                     $150 – $200 per Backup Tape
        Backup Tape Data Extraction                  $250 – $300 per Backup Tape



                                                2
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52              Page 14 of
                                            56



        Data Processing
        Processing Set-Up                             $500 per Logical Unit
        Processing & Review Promotion                 $75 – $150 per GB
        Optical Character Recognition                 $35 per GB
        Load File Creation                            $150 per GB
        Machine Translation                           $0.12 – $0.15 per file
        Load File Ingestion                           $125 per GB

        Data Analytics, Hosting, and Review
        Document Imaging                              No unit-based charge
        Conceptual Analytics / Assisted Review        $200 per GB
        User Licensing                                $100 per user per month
        Offline Hosting                               $5 per GB per month
        Data Hosting                                  $10 – $35 per GB per month

        7.      The Trustee also has agreed to reimburse Grant Thornton for all actual and

 necessary out-of-pocket business expenses incurred in connection with this matter.

        8.      These rates are set at a level designed to fairly compensate Grant Thornton for the

 work of its financial advisors. After conducting certain diligence in connection with reasonable

 compensation that Grant Thornton could request for the provision of its services in this Chapter

 11 case, upon information and belief, the terms of the Engagement Letter are similar to the terms,

 both financial and otherwise, agreed to by Grant Thornton and other financial consultancy firms,

 both inside and outside of bankruptcy. Moreover, the terms of the Engagement Letter were

 negotiated between the Trustee and Grant Thornton and reflect the work to be performed by Grant

 Thornton in this Chapter 11 case and the firm’s financial consultancy expertise.

        9.      Grant Thornton intends to apply to the Court for payment of compensation for

 services rendered and reimbursement of actual and necessary out-of-pocket business expenses and

 an administrative charge of six percent, in accordance with applicable provisions of the

 Bankruptcy Code, the Bankruptcy Rules, the Local Rules and orders of this Court. Grant Thornton

 has agreed to accept as compensation such sums as may be allowed by the Court on the basis of

 the professional time spent, the rates charged for such services, the necessity of such services to

                                                 3
Case 19-00730-5-JNC         Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                Page 15 of
                                             56



 the administration of the estate, the reasonableness of the time within which the services were

 performed in relation to the results achieved, and the complexity, importance, and nature of the

 problems, issues, or tasks addressed in the case.

        10.     No compensation has been received by Grant Thornton from the Trustee or any

 other person on said account.

        11.     Grant Thornton has agreed not to share (a) any compensation that it may receive

 with another party or person, other than members of the firm itself or (b) any compensation that

 another person or party has received.

                             Grant Thornton’s Conflict Check System

        12.     A search of the client databases and other relevant databases of Grant Thornton was

 performed to identify any connections or relationships with the entities with which the Trustee or

 the Debtor has material relationships as identified by the Trustee. Such analysis consisted of a

 review of contacts with the Trustee, the Debtor, and entities holding claims or interests in the

 Debtor that were made reasonably known to Grant Thornton by the Trustee. A list of the parties

 reviewed is reflected in Schedule 1 to this Affidavit. Grant Thornton’s review included conducting

 a query of such parties in databases containing the names of individuals and entities that are current

 or former clients of Grant Thornton or who have other relationships with Grant Thornton.

 Additionally, Grant Thornton included potential judges and bankruptcy administrators in the

 search process. A summary of the relationships that Grant Thornton identified during this process

 is set forth in Schedule 2 hereto.

        13.     Grant Thornton has provided or could reasonably be expected to continue to

 provide services unrelated to this Chapter 11 case for the various entities shown on Schedule 2.

 Grant Thornton’s assistance to these parties has been related to providing various financial,



                                                     4
Case 19-00730-5-JNC         Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                 Page 16 of
                                             56



 litigation support, business consulting, or tax services. To the best of my knowledge, no services

 have been provided to these parties in interest that involve their rights in this Chapter 11 case, nor

 does Grant Thornton’s involvement in this case compromise its ability to continue such consulting

 services.

        14.     In addition, as part of its diverse practice, Grant Thornton appears in numerous

 cases and court proceedings and participates in transactions that involve many different

 professionals, including attorneys, accountants, investment banks, and financial consultants who

 may represent claimants and parties in interest in this Chapter 11 case. Further, Grant Thornton

 has performed in the past, and may perform in the future, advisory and consulting services for

 various attorneys and law firms and has been represented by various attorneys and law firms, some

 of whom may be involved in these proceedings.            Based on our current knowledge of the

 professionals involved, and to the best of my knowledge, none of these relationships creates an

 interest materially adverse to the Trustee or the Debtor in matters upon which Grant Thornton is

 to be employed, and none are in connection with the Trustee, the Debtor, or this case.

                               Disinterestedness of Grant Thornton

        15.     To the best of my knowledge, and based on the results of the conflicts search

 described above, Grant Thornton is a “disinterested person” within the meaning of Section 101(14)

 of the Bankruptcy Code (as supplemented by Section 1107(b) of the Bankruptcy Code), in that,

 except as otherwise set forth herein, Grant Thornton and its professionals:

          a) are not creditors, equity security holders, or insiders of the Trustee or the Debtor;

          b) are not and were not, within 2 years before the date of the filing of the Debtor’s Chapter
             11 petition, directors, officers, or employees of the Trustee or the Debtor; and

          c) do not have an interest materially adverse to the interest of the estate or of any class of
             creditors or equity security holders, by reason of any direct or indirect relationship to,
             connection with, or interest in, the Debtor, or for any other reason.


                                                   5
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52              Page 17 of
                                            56



        16.     In addition, to the best of my knowledge and based upon the results of the conflicts

 search described above, other than as described herein, neither I, Grant Thornton, nor any member

 or associate thereof, holds or represents an interest adverse to the Trustee, the Debtor, or the

 Debtor’s estate.

        17.     If any new material, relevant facts or relationships are discovered or arise, Grant

 Thornton promptly will file a supplemental affidavit pursuant to Bankruptcy Rule 2014(a).

        18.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge, information, and belief.

        Executed this 10th day of April, 2019.

                                               /s/ Scott B. Davis
                                               Scott B. Davis
                                               Partner
                                               Grant Thornton, LLP
                                               201 S. College Street, Suite 2500
                                               Charlotte, NC 28244
                                               T +1 704 632 3540
                                               F +1 704 334 7701
                                               scott.davis@us.gt.com




                                                  6
Case 19-00730-5-JNC     Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52          Page 18 of
                                         56



                                         Schedule 1

  3M
  Affiliated Medical Services
  Airgas Mid South, Inc.
  Alere North America, Inc.
  American Esoteric Laboratory (AEL)
  American Red Cross Blood Services
  Ameripride
  Amerisource Bergen Drug Corp
  Anesthesia Dynamics
  Anthem Blue Cross Life and Health Insurance Company
  Anthem Health Plans of Kentucky, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Health Plans of Maine, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Health Plans of New Hampshire, Inc. doing business as Anthem Blue Cross and Blue
  Shield
  Anthem Health Plans of Virginia, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Health Plans, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Insurance Companies, Inc. doing business as Anthem Blue Cross and Blue Shield
  Arjo, INC.
  Arnett Carbis Toothman, LLP
  Assistant United Stated Trustee Jordan Sickman
  AT&T
  Attorney General, State of Missouri
  Baker Donelson Bearman Caldwell & Berkowitz, PC
  Bank of Hays
  BC Technical
  BCBSM Inc. doing business as BlueCross BlueShield of Minnesota
  Beckman Coutler, Inc.
  Bio rad Laboratories inc.
  Bioventus
  Blue Cross and Blue Shield of Georgia, Inc.
  Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.
  Blue Cross Blue Shield of Michigan Mutual Insurance Company
  Blue Cross Blue Shield of Wisconsin doing business as Anthem Blue Cross and Blue Shield
  Blue Cross of California, Inc. doing business as Anthem Blue Cross
  Boyce & Bynum Pathology Lab
  Brett King
  Brown County Treasurer
  CAH Acquisition Company #1, LLC a Delaware Limited Liability Company doing business as
  Washington County Hospital
  CAH Acquisition Company #10, LLC
Case 19-00730-5-JNC     Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52          Page 19 of
                                         56



  CAH Acquisition Company #11, LLC a Delaware Limited Liability Company doing business as
  Lauderdale Community Hospital
  CAH Acquisition Company #12, LLC a Delaware Limited Liability Company doing business as
  Fairfax Community Hospital
  CAH Acquisition Company #2, LLC a Delaware Limited Liability Company doing business as
  Oswego Community Hospital
  CAH Acquisition Company #3, LLC a Delaware Limited Liability Company doing business as
  Horton Community Hospital
  CAH Acquisition Company #4, Inc. an Oklahoma Corporation doing business as Drumright
  Regional Hospital
  CAH Acquisition Company #5, LLC a Delaware Limited Liability Company doing business as
  Hillsboro Community Hospital
  CAH Acquisition Company #6, LLC a Delaware Limited Liability Company doing business as I-
  70 Community Hospital
  CAH Acquisition Company #7, LLC a Delaware Limited Liability Company doing business as
  Prague Community Hospital
  CAH Acquisition Company #9, LLC
  CAH Acquisition Company 16, LLC a Delaware Limited Liability Company doing business as
  Haskell County Community Hospital
  Cardinal Health - Pharm
  Cardinal Health 411, Inc.
  Cardinal Health Nuclear Pharm
  Carefusion Solutions, LLC
  Castle Medical, LLC
  Cayenne Medical, Inc.
  Cerner Corporation
  Charles E. Cartwright
  Cigna Health and Life Insurance Company
  Cigna Healthcare
  Cindi A Sims - Saline County Collec
  City Hillsboro, Kansas
  City of Drumright
  City of Prague
  Community Blood Center
  Community Insurance Company doing business as Anthem Blue Cross and Blue Shield
  Compcare Health Services Insurance Corporation doing business as Anthem Blue Cross and Blue
  Shield
  Comtrix Solutions
  CPP Wound Care #25 LLC
  CPP Wound Care, LLC
  CPSI
  Creek County Treasurer
Case 19-00730-5-JNC      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52          Page 20 of
                                          56



  Creekridge Capital
  Daniel Bercu
  David M. Warren
  DELTA Healthcare Providers
  Diagnostic Laboratory of OK
  Doerner, Saunders, Daniel & Anderson, L.L.P.
  Dominion North Carolina Power
  Drumright Regional Hospital
  Drumright Rural Health Clinic
  Emergency Coverage Corp
  Empire HealthChoice Assurance, Inc. doing business as Empire Blue Cross and Blue Shield
  Empower H.I.S LLC
  A Florida limited liability company
  Empower Healthcare, LLC
  a Florida Limited Liability Company
  Empower HMS LLC a Delaware Limited Liability Company
  Erx, LLC
  Fairfax Community Hospital
  Farnam Street Financial Inc.
  First Capital Corporation
  First Liberty
  First Physicians Lending Solutions - Fairfax, LLC
  Fisher Healthcare
  Fox Rothschild
  Fusion Meidcal Staffing
  Gas & Supply
  Gemino Healthcare Finance
  Gene Evans
  GlassRatner
  GlazoSmithKline Pharmaceutical
  Haskell County Community Hospital
  Health Acquisition Company LLC
  A West Virginia limited liability company
  Healthy Alliance Life Insurance Company
  Heartland Pathology Consultant
  Hendren, Redwine & Malone, PLLC
  HERC
  High Point Capital
  Hillsboro Community Hospital
  HIPPA-Guard
  HMC/CAH Consolidated, Inc. A Delaware corporation
Case 19-00730-5-JNC     Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52        Page 21 of
                                         56



  HMO Healthkeepers, Inc. doing business as Anthem Blue Cross and Blue Shield
  HMO Missouri, Inc.
  Horton City Clerk
  Horton Community Hospital
  Hospital Equipment Rental Co.
  I.T.S. USA
  I-70 COMMUNITY HOSPITAL
  iHealthcare
  iHealthcare II
  iHealthcare, Inc.
  J&J Health Care
  James Shaffer
  Jorge A. Perez
  Judge Dana L. Rasure
  Judge Joseph N. Callaway
  Judge Robert E. Nugent
  KCI USA
  Keith Plummer
  Key Rehabilitation
  Klenda Austerman LLC
  Lab Corp of America Holding
  Labcorp
  Labette County Treasurer
  Landmark National Bank
  Lauderdale Community Hospital
  Lauderdale County Assessor
  Lauderdale County HOPE Foundation
  LGMG, LLC
  Lifeblood/Mido UTH Blood
  M&T Bank
  Marion County Treasurer
  Marjorie K. Lynch
  McCartys
  McKesson
  McKesson Corporation
  McKesson Corporation - RX
  McKesson Medical-Surgical Inc.
  McNair Oil Co.
  Medline Industries, Inc.
  Merrick, Baker & Strauss, P.C.
  Midland
Case 19-00730-5-JNC      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52          Page 22 of
                                          56



  Miller EMS, LLC
  Missouri Department of Revenue
  Missouri Network Alliance, LLC
  Mobile Cardiac Care, LLC
  Modular Space Corporation
  N.C. Department of Justice
  Nelson Mullins Riley & Scarborough, LLP
  Netgen Healthcare
  Nortek Medical Staffing, Inc.
  North Carolina Department of Health and Human Services, Division of Health Benefits
  Nthrive Inc.
  OG&E
  Oklahoma Blood Institute
  Oklahome Tax Commission
  Ortho-Clinical Diagnositcs, Inc.
  OSU Foundation
  Oswego Community Hospital
  Patriot Placement Staffing LLC
  Paul L. Nusbaum
  Paulette J. Delk
  Pedro Galvez
  Phusion Marketing Group
  Phyllis Shaffer
  Prague Community Hospital
  Premier Spec Network LLC
  Primeforce Medical Corp
  Psychiatric Medical Care
  Public Building Commission of Hillsboro, Kansas
  Quality Systems, Inc.
  Quest Diagnostics
  R. Lee Webber, Morton & Germany, PLLC
  Ramp Plymouth, PA
  Raymond Howard
  Reboot Inc.
  Reboot, Inc./HIPPA Guard
  Regence BlueCross BlueShield of Oregon
  Regence BlueCross BlueShield of Utah
  Regence BlueShield
  Regence BlueShield of Idaho
  RightCHOICE Managed Care, Inc.
  Ripley City Recorder
Case 19-00730-5-JNC      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52         Page 23 of
                                          56



  Robert Venable, M.D.
  Rocky Mountain Hospital and Medical Service, Inc. doing business as Anthem Blue Cross and
  Blue Shield
  Roger and Mary Swearengin
  Rural Community Hospitals of Americ Attn: Steen F. White
  Rural Community Hospitals of America LLC (D.B.A. RCHA)
  Rural Emergency Medical Prov.
  Rural Health Partners, LLC
  Security Bank of Kansas City
  Shared Medical Services Inc
  Shared Medical Services, LLC
  Siemens Healthcare Diagnostics
  Spencer Fane LLP
  Spilman Thomas & Battle, PLLC
  Standley Systems, LLC
  Stars
  Stephani W. Humrickhouse
  Steven F. White
  Stevens & Brand, LLP
  Stinson Leonard Street LLP
  Stone Bank
  Stryker Instruments
  Sysco Food Services
  Sysko of Kansas City
  Sysmex America, Inc.
  The Medical Protective Company
  Thomas W. Waldrep, Jr.
  TN Dept of Labor - Bureau of Unemployment Insurance
  Topeka Health Systems, LLC
  Total Medical Prsnnl Staffing
  Town of Plymouth
  Trial Attorney Carrie Ann Rochrscheib
  Trial Attorney Christopher T. Borniger
  Triplett Woolf Garretson, LLC
  Trucode, LLC
  United Linen Uniform Services
  US Bank
  US Foodservice
  Volente Healthcare LLC
  Waldrep, LLP
  Washington County Hospital
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 24 of
                                       56



  Washington County, NC
  Werfen USA Labs
  Westar Energy
  Western Healthcare, LLC
  WPM Pathology Laboratory
Case 19-00730-5-JNC     Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52     Page 25 of
                                         56



                                        Schedule 2

Relationship Identified                               Services Related to Debtor's Case
Anthem Insurance Companies, Inc. (d.b.a Anthem Blue
Cross and Blue Shield)                                No
US Bank                                               No
Medline Industries, Inc.                              No
CPSI                                                  No
Quest Diagnostics                                     No
Nelson Mullins Riley & Scarborough, LLP               No
Fox Rothschild                                        No
Spencer Fane LLP                                      No
Westar Energy                                         No
McCartys                                              No
Lab Corp of America Holding                           No
Bio Rad Laboratories inc.                             No
Nthrive Inc.                                          No
Ameripride                                            No
Stinson Leonard Street LLP                            No
Quality Systems, Inc.                                 No
First Financial Corp                                  No
Baker Donelson Bearman Caldwell & Berkowitz, PC       No
3M                                                    No
AT&T                                                  No
M&T Bank                                              No
Sysmex America, Inc.                                  No
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 26 of
                                       56



                              EXHIBIT B
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 27 of
                                       56
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 28 of
                                       56
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 29 of
                                       56




     hasnt
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                              Page 30 of
                                                          56
                                                                                                                                     1

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019




           ATTACHMENT A - STANDARD GRANT THORNTON LLP ENGAGEMENT
           TERMS

           It is understood and agreed that the terms and conditions in this Attachment A refer to the Grant Thornton letter to
           which it is attached. The addressee of the letter, by signing the letter, has agreed to all of the terms and conditions in
           this Attachment A. In the event that there is a conflict between this Attachment A and the letter, including any
           Statements of Work, attachments, or amendments to the Agreement, the terms of Attachment A shall control. Any
           capitalized terms in this Attachment A that are not defined shall have the meanings in the letter.

           1.         Management Participation and Responsibilities. You will designate at least one management level individual
           who possesses the suitable skill, knowledge, experience, judgment, and willingness to be responsible for overseeing
           the Services on your behalf. You will be solely responsible for applying independent business judgment with respect
           to the Services, including without limitation, establishing and monitoring the performance of the Services to ensure
           the objectives have been met, evaluating the adequacy of the engagement and any recommendations made, exclusively
           rendering decisions that involve management functions related to the engagement, accepting full responsibility for
           decisions on implementation or other further course(s) of action, and establishing and maintaining internal controls.
           Moreover, you will in all events remain responsible for the care and control of your premises, for all internal books
           and recordkeeping, for establishing and maintaining effective internal control systems and for all management
           functions, responsibilities and decisions.

           2.         Business Risk Allocations. The terms of this Section 2 shall apply regardless of the nature of any claim
           asserted (including but not limited to contract, statute, tort, strict liability, or any form of negligence, whether by you,
           Grant Thornton, or others) but such terms shall not apply to the extent finally determined to be contrary to any
           applicable law.

           (a)        Limitation of Liability and Indemnity. Debtor shall, upon the receipt of written notice, indemnify, defend,
           and hold harmless Grant Thornton and its present and former partners, principals, directors, employees, agents, and
           contractors (collectively the “Grant Thornton Firm”) from and against any liability, damages, fees, expenses, losses,
           demands, and costs (including defense costs) associated with any claim arising from or relating to: (i) Debtor’s
           misrepresentations; (ii) false or incomplete information provided to Grant Thornton by Debtor or its agents; or (iii)
           any third party claims related to the Services provided under this Agreement. Debtor agrees to reimburse the Grant
           Thornton Firm for all reasonable expenses, including attorneys’ fees and expenses, as they are incurred in connection
           with the investigation of, preparation for, or defense of, any pending or threatened claim, action, or proceeding arising
           therefrom, whether or not the Grant Thornton Firm is a party. In no event shall Debtor or its estate have any obligation
           to indemnify, defend or hold harmless the Grant Thornton Firm for any claim and/or from any liability, damages,
           fees, expenses, losses, demands, and costs (including defense costs) arising from the Grant Thornton Firm’s gross
           negligence, willful misconduct or fraud. If before the entry of an order closing the Debtor’s chapter 11 case, the Grant
           Thornton Firm believes it is entitled to the payment of any amounts by the Debtor on account of the Debtor’s
           indemnification under the engagement letters, as modified by this Order, including without limitation the advanced of
           defense costs, the Grant Thornton Firm must file an application therefor in this Court, and the Debtor may not pay
           any such amounts to the Grant Thornton Firm before the entry of a final order approving such payment. This
           paragraph is intended only to specify the period during which the Court shall have jurisdiction over any request by
           Grant Thornton for indemnification and is not a provision limiting the duration of the Debtor’s obligation to
           indemnify. Notwithstanding any other provision of the Grant Thorton letter or any attachments thereto, the Debtor
           shall have no obligation to indemnify the Grant Thornton Firm or provide contribution or reimbursement to the
           Grant Thornton Firm for a contractual dispute to the extent such indemnification, contribution, or reimbursement
           would be inconsistent with In re United Artists Theatre Co., 315 F.3d 217, 234 (3d Cir. 2003).

           (b)   IN NO EVENT SHALL THE GRANT THORNTON FIRM BE LIABLE FOR, AND YOU
           HEREBY WAIVE, ANY INDIRECT, SPECIAL, CONSEQUENTIAL, INCIDENTAL, OR



           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                             Page 31 of
                                                          56
                                                                                                                                   2

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019


           EXEMPLARY DAMAGES OR LOSS, INCLUDING WITHOUT LIMITATION, ANY LOST PROFITS,
           TAXES, INTEREST, PENALTIES, LOSS OF SAVINGS, OR LOST BUSINESS OPPORTUNITY.

           In responding to any claim asserted, the Grant Thornton Firm shall avail itself of any defense available to it under
           applicable law, but in no event shall the aggregate liability of the Grant Thornton Firm for any claims, losses or damages
           related to this Agreement exceed an amount that is proportional to the relative fault of the Grant Thornton Firm that
           is finally determined to have caused your losses.

           (c)        Limitation on Period to File Claims. It is expressly agreed that any claim by or on behalf of either party
           arising out of the Services, whether it be in contract, tort, or otherwise, shall be deemed waived if a claim is asserted
           more than two (2) years from the date that the Deliverable is issued.

           3.         Use of Documentation and Reliance. Our professional standards require us to maintain sufficient
           documentation to support our work. This documentation may include copies of your information. However to the
           extent that we have copies of your information, we will protect and safeguard your information from unauthorized
           disclosure.

           You agree to protect all data, materials, deliverables and reports, and opinions delivered to you (the “Deliverables”)
           from unauthorized use and prevent disclosure of the Deliverables to unauthorized third parties who may rely on them.
           Moreover, you agree that we have not and shall not be deemed to assume any duties or obligations to any third party,
           including without limitation an affiliate, subsidiary, parent company or shareholders, partners, members, creditors or
           any third party beneficiaries. Taxing jurisdictions are not considered third parties with respect to tax filings
           contemplated in a Statement of Work.

           Our Deliverables will be based on our interpretation of the federal and state laws, regulations, administrative and
           judicial pronouncements, and other relevant authorities, in effect when we provide our deliverables. All of these
           authorities are subject to change, and such change may be retroactive or prospective in effect. We assume no
           responsibility to either advise you of, or to update our conclusions, for changes in respect to federal and state laws,
           regulations, administrative and judicial pronouncements, and other relevant authorities. As a result, evaluation of our
           Deliverables shall be based solely on its substantial conformance with any standards or specifications expressly set
           forth in this Agreement and applicable law and any claim of nonconformance must be clearly and convincingly shown.

           4.         Third Party Proceedings. Unless expressly provided for in a Statement of Work, our Services do not include
           giving testimony or appearing or participating in discovery proceedings, in administrative hearings, in court, or in other
           legal or regulatory inquiries or proceedings. Moreover, our costs, expenses and time spent in legal and regulatory
           matters or proceedings arising from this Agreement to which we are not a party and the Services are not at issue, such
           as subpoenas, testimony, bankruptcy filings or proceedings, consultation involving private litigation, arbitration,
           government or industry regulation inquiries, whether made at your request or the request of a third party or by
           subpoena or equivalent, will be billed to you separately at our then current rates.

           5.        Access to Resources and Information. Unless specified in a Statement of Work as the responsibility of Grant
           Thornton to provide, you shall have obtained for us on a timely basis any internal and third party permissions, licenses
           or approvals that are required for us to perform the Services contemplated hereunder (including use of any necessary
           software or data). You shall also provide us, on a timely basis, with such information, approvals and assistance as may
           be necessary to our work or as we may reasonably request, and our personnel assigned to any work hereunder shall
           not be assumed or deemed to have knowledge of information provided to others, whether external to or within the
           Grant Thornton Firm.

           6.          Term and Termination. This Agreement will commence on the Effective Date and it will not expire, unless
           earlier terminated as provided in this Attachment A. We shall each have the right to terminate this Agreement, in whole
           or in part, at any time without further obligation to the other by giving not less than thirty (30) days written notice to


           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                               Page 32 of
                                                          56
                                                                                                                                 3

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019


           the other party; provided that in-process Statements of Work shall be completed, except in the event of an uncured,
           material breach. Further, Grant Thornton shall have the right to terminate this Agreement if it discovers practices by
           you that we deem dishonest, fraudulent, or illegal; or we determine that the American Institute of Certified Public
           Accountants, Public Company Accounting Oversight Board, Securities and Exchange Commission, or other applicable
           rules or professional standards result in the Grant Thornton Firm’s inability to complete the work, the Grant Thornton
           Firm may terminate the applicable Statement of Work or this Agreement. In the event that either party terminates this
           Agreement or any or all Statements of Work as set forth in this section, you agree to pay us for the Services, including
           out-of-pocket expenses and costs, rendered up to the date of such termination.

           7.         Use of Third Party Service Providers and Affiliates. Grant Thornton LLP is the U.S. member firm of Grant
           Thornton International Ltd (“GTIL”), a global organization of member firms in over 110 countries. Member firms
           are neither members of one international partnership nor otherwise legal partners with one another. There is no
           common ownership, control, governance, or agency relationship among member firms. Grant Thornton may use
           third-party service providers, such as independent contractors, specialists, or vendors, to assist in providing our
           professional services. We may also use GTIL member firms, other affiliates of Grant Thornton, or other accounting
           firms. Such entities may be located within or outside the United States.

           The member firms of GTIL are intended third-party beneficiaries of this Agreement and are entitled to all the benefits
           and protections contained therein. No other third-party beneficiaries are intended under this Agreement.

           In the event Grant Thornton subcontracts some of the Services to a GTIL member firm, Grant Thornton takes sole
           responsibility for all work performed in relation to this Agreement and Client agrees that, with respect to work that is
           the subject of this Agreement, its sole recourse is against Grant Thornton.

           Additionally, Grant Thornton may use third-parties to provide administrative and operational support to Grant
           Thornton business operations. All of these third party service providers are subject to confidentiality obligations to
           protect the confidentiality of client data. Such entities may be located within or outside the United States.

           8.        Electronic Communications. During the course of our engagement, we may need to electronically transmit
           confidential information to each other and to third-party service providers or other entities engaged by either Grant
           Thornton or you. Electronic methods include telephones, cell phones, e-mail, and fax. These technologies provide a
           fast and convenient way to communicate. However, all forms of electronic communication have inherent security
           weaknesses, and the risk of compromised confidentiality cannot be eliminated. You agree to the use of electronic
           methods to transmit and receive information, including confidential information.

           9.        Privacy. Grant Thornton is committed to protecting personal information. We will maintain such
           information in confidence in accordance with professional standards and governing laws. Therefore, any personal
           information provided to us by the Company will be kept confidential and not disclosed to any third party unless
           expressly permitted by the Company or required by law, regulation, legal process, or professional standards. The
           Company is responsible for obtaining, pursuant to law or regulation, consents from parties that provided the Company
           with their personal information, which will be obtained, used, and disclosed by Grant Thornton for its required
           purposes.

           Notwithstanding anything to the contrary herein, Grant Thornton imposes no conditions of confidentiality on any
           information it provides to you to the extent that it concerns the tax structure or tax treatment of any transaction.

           10.        Basis for Our Conclusions. Our conclusions are limited solely to the matters for which we were engaged.
           No conclusions should be inferred as to any matters not specifically covered in the Agreement. Further, the
           conclusions are based upon the facts and information presented by you and may be inapplicable if the actual facts
           differ from those presented in any respect.

           You represent that we may rely on the following, to the extent applicable, without verification.

           (a)              All original documents, signatures and copies of documents provided by you are authentic.


           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                              Page 33 of
                                                          56
                                                                                                                                     4

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019


           (b)       When only drafts of pertinent documents are available, the executed versions of the draft documents will
           not vary materially from the ones provided by you for examination.

           (c)        There are no inconsistent or adverse facts that are not otherwise provided by you and not apparent from
           the face of the documents that we have relied upon.

           (d)       All legal documents necessary to perform the services have been duly and validly authorized, approved and
           executed by the appropriate persons.

           With respect to (a) – (d) above, you hereby agree not to sue the Grant Thornton Firm and release the Grant Thornton
           Firm from all claims, whether known or unknown, liability, damages, fees, expenses and costs (including defense costs)
           relating to the Services that arise or relate to any information provided by you, your personnel or agents, that is
           misleading, incomplete, or not current.

           11.              Dispute Resolution.

           (a)         Mediation. Any controversy or claim arising out of or relating to the services, related fees or this Agreement
           shall first be submitted to mediation. A mediator will be selected by agreement of the parties, or if the parties cannot
           agree, a mediator acceptable to all parties will be appointed by the American Arbitration Association (“AAA”). The
           mediation will proceed in accordance with the customary practice of mediation and shall be concluded within sixty
           (60) days from receipt of written notice unless the parties agree otherwise. Any facts disclosed related to the mediation
           shall be kept confidential and each side shall pay its own costs of the mediation but will share equally the mediator’s
           expenses.

           (b)        Arbitration. In the event mediation is not successful, then the parties agree that the dispute(s) or claim(s)
           shall be settled by binding arbitration. The provisions herein supersede any contrary arbitral rules that might otherwise
           apply. The arbitration proceeding shall take place in the city in which the Grant Thornton office providing the Services
           is located unless the parties mutually agree to a different location. If the Services that are at issue are provided from
           various Grant Thornton offices, the arbitration will take place in Chicago, Illinois. The proceeding shall be governed
           by the provisions of the Federal Arbitration Act (“FAA”) and will proceed in accordance with the then current Conflict
           Prevention & Resolution (“CPR”) or the similar rules of another arbitration association if one other than CPR is
           selected, except that pre-hearing discovery shall be limited as provided for herein or unless specifically authorized by
           the arbitrators.

                      i. To begin the arbitration process, a party shall provide written notice of the issues to be resolved by
           arbitration (the “Notice”) within fifteen (15) days of the parties’ agreement to terminate or waive mediation, and the
           other party shall respond within twenty one (21) days and shall add any other issues to be resolved within the
           arbitration. The arbitrators shall only resolve those issues identified in the Notice, and issues that are not identified in
           the Notice shall not be arbitrated nor brought to court.

                       ii. The arbitration shall be conducted by three (3) arbitrators. Each party shall select an arbitrator
           experienced in the relevant subject matters within twenty one (21) days of the Notice who shall serve as a neutral
           arbitrator, and the two (2) designated arbitrators shall then select a third neutral arbitrator within twenty one (21) days
           of their selection by the parties. It is the parties’ intention that the two (2) arbitrators selected by the parties be
           “neutrals” who will not be informed as to which party selected them. If the two (2) arbitrators cannot agree on selection
           of a third arbitrator within twenty one (21) days of their appointment, the agency whose rules govern the arbitration
           shall request a list of arbitrators and select a third arbitrator under the agency’s rules within thirty (30) days. If both
           parties are in agreement, the dispute may be heard by one (1) arbitrator selected within sixty (60) days following receipt
           of the Notice.




           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                                Page 34 of
                                                          56
                                                                                                                                       5

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019


                      iii. The parties shall not be entitled to discovery except as it directly relates to the underlying Services that
           are at issue between the parties and shall submit a joint proposed schedule to the arbitrator(s) within thirty (30) days
           of the arbitrator(s)’ selection. Other than described herein, no other discovery is allowed except by the arbitrator(s)
           and only for good cause shown.

                      iv. Except for impeachment-only information, each party must disclose within thirty (30) days after the
           selection of the arbitrator(s): (1) the names, addresses, telephone numbers, and email addresses of persons who have
           knowledge and/or discoverable information relating to the issues submitted for resolution, its claims and defenses;
           and (2) a computation showing each element of claimed damages.

                      v. The parties shall be entitled to take three (3) depositions not to exceed seven (7) hours for each such
           deposition. In addition, each side shall be entitled to depose any expert witness who will testify in the arbitration
           proceeding for no more than seven (7) hours. Each testifying expert shall provide the same materials required under
           Federal Rule of Civil Procedure 26(a)(2)(B). The parties must confer in good faith to resolve all discovery disputes. If
           they cannot resolve these themselves, the parties must attempt to do so in conference with the arbitrator(s). If the
           dispute is not resolved in conference, the arbitrator(s) must promptly rule on the issues. Each side may file dispositive
           motions without obtaining leave from the arbitrator(s), but must first confer with the other side prior to filing any
           dispositive motions. All motions should be filed no later than sixty (60) days prior to the arbitration hearing, unless
           agreed otherwise by the parties or ordered by the arbitrator(s).

                      vi. The arbitrator(s) shall have no authority to award non-monetary equitable relief and will not have the
           right to award indirect, consequential, or punitive damages. The award of the arbitration shall be in writing and shall
           be accompanied by a well-reasoned opinion. The award issued by the arbitrator(s) may be confirmed in a judgment by
           any federal or state court of competent jurisdiction. Each party shall be responsible for its own costs associated with
           the arbitration, except that the costs of the arbitrator(s) shall be equally divided by each side involved in the arbitration.
           The arbitration proceeding and all information disclosed during the arbitration shall be maintained as confidential,
           except as may be required to confirm the award, for disclosure to professional or regulatory bodies, as required by law
           or a court of law, or in a related confidential mediation or arbitration.

           12.              General.

           (a)              Neither party shall assign any rights, obligations or claims relating to this Agreement.

           (b)       Neither party shall be liable for any delay or failure in performance due to circumstances beyond its
           reasonable control.

           (c)       Except for GTIL member firms and Grant Thornton affiliates, no third-party beneficiaries are intended
           under this Agreement.

           (d)              Neither party shall use the other’s name, service marks, or trademarks without prior written consent.

           (e)        This Agreement, including its formation and the parties’ respective rights and duties and all disputes that
           might arise from or in connection with this Agreement or its subject matter, shall be governed by and construed in
           accordance with the laws of Illinois, without giving effect to conflicts of laws rules. The parties consent to the personal
           jurisdiction of the courts of the state where the Grant Thornton office performing the Services is located and the
           United States District Court for the District of such state, and the parties waive objection to venue in any of these
           courts.

           (f)         Each party is an independent contractor with respect to the other and shall not be construed as having a
           trustee, joint venture, agency or fiduciary relationship.




           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                             Page 35 of
                                                          56
                                                                                                                                   6

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019


           (g)      If any portion of this Agreement is held invalid, it is agreed that such invalidity shall not affect any of the
           remaining portions. Furthermore, if the Services are subject to the independence rules of the U.S. Securities and
           Exchange Commission (“SEC”) with respect to you, such that any provision in this Agreement would impair our
           independence under the SEC’s rules, such provision shall, to that extent, be of no further force and effect and the
           Agreement shall consist of the remaining provisions.

           (h)     This Agreement, including any other incorporated attachments, sets forth the entire understanding between
           and among the parties regarding the Services and supersedes all prior and contemporaneous agreements, arrangements
           and communications and may not be modified or amended, except by the mutual written agreement of both parties.

           (i)       The clauses regarding liability limitations, third party proceedings, indemnification and resolution of
           differences shall survive any termination of this Agreement.

           13.        Personnel. During the term of this Agreement and for a period of one (1) year after the Services are
           completed, we both agree not to solicit, directly or indirectly, or hire, the other’s personnel participating on an
           engagement without express written consent. If this provision is violated, the violating party will pay the other party
           a fee equal to the hired person’s annual salary in effect at the time of the violation to reimburse the estimated costs of
           hiring and training replacement personnel, unless the individual is hired in response to a general advertisement made
           available to the public.

           14.        Successors and Affiliates. Recognizing that at times Grant Thornton’s work may pertain not only to you but
           also to various subsidiaries, affiliates, advisors and contractors, partnerships, companies, trusts or foundations, you
           agree, as may be requested by Grant Thornton from time to time (including subsequent to completion of the Services),
           to obtain written acceptance of the terms of this Agreement. Furthermore, you represent and warrant that this
           Agreement shall be binding on each party hereto and on each of your respective subsidiaries, successors, assigns and
           legal representatives.

           15.        Reportable Transactions. Taxpayers are required to disclose their participation in certain types of
           transactions (“Reportable Transactions”) on forms filed with their federal income tax returns and/or with the IRS
           Office of Tax Shelter Analysis, and with agencies of certain states that impose similar requirements. Failure to adhere
           to Reportable Transaction disclosure and filing requirements may result in the imposition of significant penalties under
           applicable federal and/or state law. We may be a “Material Advisor” with regard to Services provided to you and we
           may be subject to our own federal and/or state reporting, registration and list maintenance obligations, which are
           separate and independent of any taxpayer disclosure obligation. We may be required to maintain and disclose to
           applicable federal and/or state regulatory agencies certain information regarding your participation in a Reportable
           Transaction, including your name and federal identification number, and other information as required.

           Except as specifically stated in this Agreement, Grant Thornton does not assume any obligation to express any opinion
           on, provide any advice related to, or identify from any information provided by you or obtained by us during the
           course of providing Services to you under this Agreement, whether any particular transaction is a Reportable
           Transaction or the potential consequences of non-compliance with disclosure and filing requirements pertaining to a
           Reportable Transaction. Reliance on any opinion or advice we may provide regarding whether a transaction is or is
           not a Reportable Transaction and /or any disclosure and filing requirements may not avoid the imposition of any
           penalty imposed on you under federal or state law for the failure to comply with such disclosure and filing obligations.

           16.       Privileges Relating to Taxpayer Communications. Any advice given by Grant Thornton with respect to a
           matter that is within the scope of our authority to practice before the IRS may be privileged under federal and state
           laws. This privilege may be asserted in any non-criminal tax matter before the IRS and in any non-criminal tax
           proceeding in Federal court and may be asserted to the extent such communication would be considered privileged
           communication if it were between a taxpayer and an attorney. At your sole cost and expense, we will cooperate with




           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC                      Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                             Page 36 of
                                                          56
                                                                                                                                 7

                                                                   CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
                                                                                                   Agreement dated March 11, 2019


           your efforts to assert taxpayer privileges when we receive a demand or inquiry for your information to the extent
           required by law.




           Grant Thornton LLP
           U.S. member firm of Grant Thornton International Ltd.
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 37 of
                                       56
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 38 of
                                       56
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                Page 39 of
                                                            56
                                                                                    CAH Acquisition Company #1, LLC
                                                                                     d/b/a Washington County Hospital
                                                                                Engagement Letter dated March 11, 2019
                                                                                Statement of Work dated March 11, 2019

 Services requested are beyond the scope of this original engagement, the Company agrees to file a motion
 seeking to approve the expansion of Grant Thornton’s retention to include these additional Services.

 GT US Shared Services Center India Private Limited (“GTSSC”) and/or the Grant Thornton Knowledge and
 Capability Center India Private Limited (“KCC”), affiliates of Grant Thornton located in Bangalore, India –
 may assist us in providing our professional services.

 Additional Services Available – Change Order
 It is understood that during the performance of the procedures, additional items may arise that you determine
 require additional investigation. While such additional investigation is not contemplated by this Statement of
 Work, or our fee estimate, we will be pleased to perform any additional procedures you deem necessary and
 request in writing. Prior to performing any additional procedures, we will discuss the scope of the procedures
 with you and the related fees in a change order or in a writing describing the additional work. Any additional
 procedures performed are subject to all the terms and conditions of this Agreement.

 Fees and Expenses
 Scott Davis will maintain overall responsibility for the engagement and will provide field support services and
 coordinate daily management of the engagement. Other professionals who may be identified during the course
 of the engagement may also provide additional services.

 Fees are based on actual hours incurred and the following hourly billing rates for the resources utilized. The
 hourly rates charged by Grant Thornton for the Services provided by its personnel differ based upon, among
 other things, each professional’s level of experience, and types of Services being provided. In the ordinary
 course of business, Grant Thornton periodically revises its hourly rates to reflect promotions and other changes
 in personnel responsibilities, increases in experience, and increases in the cost of doing business. The next rate
 change is expected to occur on or about August 1, 2019.

 In exchange for the Services summarized previously, Grant Thornton will be entitled to compensation at
 discounted hourly rates for professional services. The professional fees shall be calculated by multiplying the
 actual hours expended providing the agreed-upon Services by the discounted hourly billing rates for the specific
 personnel involved. At present, Grant Thornton’s standard hourly rates and applicable discounted hourly rates
 by classification are as follows:

           Professional                                 Standard Hourly Rates     Discounted Hourly Rates
           Partner / Principal                          $870                      $620
           Managing Director                            $800                      $620
           Director                                     $710                      $500
           Senior Manager                               $710                      $500
           Manager                                      $590                      $450
           Senior Associate                             $450                      $310
           Associate                                    $320                      $250



 Changes in regular hourly rates will be noted on the invoices for the first period in which the revised rates
 become effective.

                                                                                                                    3

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 40 of
                                       56
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 41 of
                                       56
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52              Page 42 of
                                                            56
                                                                              CAH Acquisition Company #1, LLC
                                                                               d/b/a Washington County Hospital
                                                                          Engagement Letter dated March 11, 2019
                                                                            Statement of Work dated April 4, 2019

 This Statement of Work (“Statement of Work”) dated April 4, 2019 (along with Attachment B, below)
 becomes a part of and is subject to the terms and conditions of the Engagement Letter and related
 Attachment A – Standard Grant Thornton LLP Engagement Terms dated March 11, 2019 between CAH
 Acquisition Company #1, LLC d/b/a Washington County Hospital (“Client”, “Company” or “you”) and
 Grant Thornton LLP (“Grant Thornton,” “Firm,” or “we”). Any capitalized terms that are not defined in this
 Statement of Work shall have the meanings set forth in the Engagement Letter, Attachment A – Standard
 Grant Thornton LLP Engagement Terms, or Attachment B. The purpose of this Statement of Work is to
 describe the Scope of Services (“Services”) the Company is requesting Grant Thornton to perform, and to set
 forth the agreed fee, timing, and other matters related to the Services.

 Objective of Our Assignment
 Below is a list of the Services it is anticipated that Grant Thornton may provide to the Company. Our approach
 and work plan is based on the procedures, analysis and budget requested by you. Our Services will be
 performed in accordance with the Statement on Standards for Consulting Services issued by the American Institute of
 Certified Public Accountants.

 Scope of Our Work
 Our Services will consist of performing certain digital forensic procedures, making inquiries of the Company’s
 management and third-party service providers, and analyzing the information obtained. Accordingly, the
 completion of our report will require cooperation of the Company’s management (as well as the cooperation
 of management’s third-party service providers). The Services section below will indicate the specific areas that
 you have requested us to address during this engagement.

 Our Services do not constitute an audit or review of the financial statements or any part thereof, the objective
 of which is the expression of an opinion or limited assurance on the financial statements, or a part thereof, or
 verification of the accuracy of the Company’s management responses to our inquiries. Our Services should
 not be relied upon to disclose errors, irregularities, or illegal acts, including fraud or defalcations. Further,
 because of the importance of the information that is provided to Grant Thornton with respect to our ability to
 perform the Services, you hereby release the Grant Thornton Firm from any liability, damages, fees, expenses
 and costs (including defense costs) relating to the Services, that arise from or relate to any information (including
 representations by management) provided by you, or any third party, that is not complete, accurate or current.

 Additionally, Client acknowledges that any electronic media to be collected may have pre-existing damage or
 other problems and that we (and our affiliates and agents) do not assume responsibility for such damage or
 further problems resulting therefrom. In addition, with respect to such Services, you have or will take
 responsibility that:
             i     To the best of your knowledge and belief after due inquiry, Client has the right to be in
                   possession of, or is the owner of, all equipment/data/media furnished to or collected by us on
                   your behalf;
             ii    Such equipment/data/media is furnished to Grant Thornton LLP for a lawful purpose; and
             iii Collection, possession, processing, and transfer of such equipment/data/media comply with all
                 applicable laws and, regulations.

                                                                                                                    1

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52               Page 43 of
                                                            56
                                                                               CAH Acquisition Company #1, LLC
                                                                                d/b/a Washington County Hospital
                                                                           Engagement Letter dated March 11, 2019
                                                                             Statement of Work dated April 4, 2019



 Limited Distribution of Our Report(s)
 Our findings may be communicated to you in one or more written reports. The reports will be supplemented
 with oral commentary, which will be an integral part of the presentation. The presentation of our findings to
 you will constitute satisfactory completion of our work. Our reports cannot be distributed to third parties
 without our prior written approval.

 Conflict of Interest Disclosure
 From time to time, we may encounter certain instances that in our view give rise to a potential conflict of
 interest between the Services we are going to perform and services that we may already be performing for an
 existing client. In such cases, we shall notify you of such a conflict and seek appropriate advance written
 consent from all parties prior to providing Services.

 The Services
 The Services we will provide under this Statement of Work consist of bankruptcy advisory services relating to
 the involuntary bankruptcy filing against the Company. Below is a list of the Services it is anticipated that Grant
 Thornton may provide to the Company:
 (i)               Analyze the Company’s Information Technology (“IT”) infrastructure, storage media, and third-
                   party systems;
 (ii)              Consult with the Trustee on the assessment of Company’s IT systems;
 (iii)             Consult with the Trustee in connection with the development of data-preservation and data-
                   collection efforts described in this Statement of Work;
 (iv)              Provide digital forensic and related services (including, but not limited to, forensic preservation
                   and collection of electronic data), to be performed at the direction of the Trustee;
 (v)               Assist the Trustee with its communications with third-party IT providers and other parties-in-
                   interest;
 (vi)              Assist the Trustee in responding to information requests submitted by statutory committees and
                   their legal and/or financial counsel; and
 (vii)             Provide additional services as requested from time to time by the Company and agreed to by Grant
                   Thornton.
 Grant Thornton and the Company recognize that certain services listed above may not be performed or that
 certain other services may be performed depending on facts and circumstances that may emerge during the
 course of this engagement. In the event that Grant Thornton determines, in its sole discretion, that additional
 Services requested are beyond the scope of this original engagement, the Company agrees to file a motion
 seeking to approve the expansion of Grant Thornton’s retention to include these additional Services.

 GT US Shared Services Center India Private Limited (“GTSSC”) and/or the Grant Thornton Knowledge and
 Capability Center India Private Limited (“KCC”), affiliates of Grant Thornton located in Bangalore, India –
 may assist us in providing our professional services.



                                                                                                                    2

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                 Page 44 of
                                                            56
                                                                                    CAH Acquisition Company #1, LLC
                                                                                     d/b/a Washington County Hospital
                                                                                Engagement Letter dated March 11, 2019
                                                                                  Statement of Work dated April 4, 2019

 Additional Services Available – Change Order
 It is understood that during the performance of the procedures, additional items may arise that you determine
 require additional investigation. While such additional investigation is not contemplated by this Statement of
 Work, or our fee estimate, we will be pleased to perform any additional procedures you deem necessary and
 request in writing. Prior to performing any additional procedures, we will discuss the scope of the procedures
 with you and the related fees in a change order or in a writing describing the additional work. Any additional
 procedures performed are subject to all the terms and conditions of this Agreement.

 Fees and Expenses
 Johnny Lee will maintain overall responsibility for the scope of the engagement described in this Statement of
 Work and will provide field support services and coordinate daily management of the engagement. Other
 professionals who may be identified during the course of the engagement may also provide additional services.

 Fees are based on actual hours incurred and the following hourly billing rates for the resources utilized. The
 hourly rates charged by Grant Thornton for the Services provided by its personnel differ based upon, among
 other things, each professional’s level of experience, and types of Services being provided. In the ordinary
 course of business, Grant Thornton periodically revises its hourly rates to reflect promotions and other changes
 in personnel responsibilities, increases in experience, and increases in the cost of doing business. The next rate
 change is expected to occur on or about August 1, 2019.

 In exchange for the Services summarized previously, Grant Thornton will be entitled to compensation at
 discounted hourly rates for professional services. The professional fees shall be calculated by multiplying the
 actual hours expended providing the agreed-upon Services by the discounted hourly billing rates for the specific
 personnel involved. At present, Grant Thornton’s standard hourly rates and applicable discounted hourly rates
 by classification are as follows:

           Professional                                 Standard Hourly Rates     Discounted Hourly Rates
           Partner / Principal                          $870                      $620
           Managing Director                            $800                      $620
           Director                                     $710                      $500
           Senior Manager                               $710                      $500
           Manager                                      $590                      $450
           Senior Associate                             $450                      $310
           Associate                                    $320                      $250

 Changes in regular hourly rates will be noted on the invoices for the first period in which the revised rates
 become effective.




                                                                                                                     3

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52          Page 45 of
                                                            56
                                                                           CAH Acquisition Company #1, LLC
                                                                            d/b/a Washington County Hospital
                                                                       Engagement Letter dated March 11, 2019
                                                                         Statement of Work dated April 4, 2019

 We will provide regular communication (written or verbal) on the status of our fees during the life of the
 engagement. If it appears that the stated fee estimate will be exceeded, we will consult with you before
 continuing with the engagement.

 In addition, Grant Thornton will be entitled to reimbursement of reasonable expenses incurred in connection
 with this engagement, including but not limited to travel, report production, delivery services, photocopying
 and other costs incurred in providing the Services. Our expenses will include an administrative charge of 6.0%
 of standard fees to cover items such as copies, postage, supplies, computer and technology usage, software
 licensing, research and library databases, and similar expense items.

 Grant Thornton will also request compensation for any time and expenses (including, without limitation,
 reasonable legal fees and expenses of Grant Thornton’s own counsel) that may be incurred in considering or
 responding to discovery requests or other requests for documents or information, or in participating as a
 witness or otherwise in any legal, regulatory, or other proceedings arising from or relating to Grant Thornton’s
 performance of these Services.

 From time to time, Grant Thornton may receive certain incentives in the form of bonuses and rewards from
 its corporate card and other vendors. Such incentives to the extent received will be retained by Grant Thornton
 to cover firm expenses. Bills for our Services will be issued periodically. Our fees are not contingent upon the
 confirmation of a Plan of Reorganization. Invoices are due upon receipt.

 The Company understands and acknowledges that Grant Thornton will apply for compensation for
 professional services to be rendered in connection with this Chapter 11 case and for reimbursement of expenses
 incurred, in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local
 Bankruptcy Rules of the United States Bankruptcy Court for the Eastern District of North Carolina, the
 applicable United States Trustee Guidelines, and any applicable orders of this Court (the “Payment Rules,
 Guidelines and Orders”). Payment of fees and reimbursement of expenses will be subject to ultimate allowance
 and approval by the Bankruptcy Court, and any additional orders governing interim payment of professionals
 in the Case.

 Grant Thornton does not have any agreement to share its revenues from the Services for which it is seeking to
 be retained hereunder with any other non-affiliated entity. Grant Thornton has not been paid any retainer
 against which to bill fees and expenses incurred in this case.

 Entire Agreement
 This Statement of Work represents the parties’ entire understanding with respect to the Services in this
 document. This Statement of Work does not modify or amend the Agreement. In the event of a conflict
 between this Statement of Work, Attachment A – Standard Grant Thornton LLP Engagement Terms, and any
 other exhibit or attachment included in the Agreement, the terms of the Attachment A shall govern.




                                                                                                               4

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC   Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52   Page 46 of
                                       56




                                               4/9/19
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                                                Page 47 of
                                                            56
                                                                                                     CAH Acquisition Company #1, LLC
                                                                                                      d/b/a Washington County Hospital
                                                                                                 Engagement Letter dated March 11, 2019
                                                                                                   Statement of Work dated April 4, 2019



 Attachment B – Forensic Technology Services
 The terms in this Attachment B apply to the Statement of Work dated April 4, 2019 for the Services to be
 provided by Grant Thornton LLP (“Grant Thornton LLP”, “we” or “us”) to CAH Acquisition Company #1,
 LLC d/b/a Washington County Hospital (“Client”, “Company” or “you”). In the event that there is a conflict
 between the Agreement and this Attachment B, the terms of this Attachment B shall control. Any capitalized
 terms herein that are undefined shall have the meaning assigned to them elsewhere in the Agreement.

     1   Data Analytics
               a.    Database Fees
     Standard
     Database Set-up             Creation of a database where data can be stored and analyzed                                      $2,250 per
                                 If requested, field-level encryption can be implemented within the                                database
                                  Standard Database.

     Standard                    Monthly hosting charge per database.                                                              $750 per
     Database                                                                                                                       month
     Hosting

     Encrypted                   The creation of a dedicated, matter-specific database with full                                   $4,500 per
     Database Set-up              database encryption.                                                                              month per
     & Hosting                                                                                                                      database1

     Database                    Data will be removed from an active database and archived                                         $250 per
     Archiving                    offline (on separate media).                                                                      month per
                                 This charge will persist until the archived data are returned to the                              database
                                  Client or are destroyed, each at the written request of the Client.

               b.    Data Visualization Fees

     Visualization               Visualization Server site accessible to Client via the Internet.                                  $2,500 per site2
     Server Site Set-
     up

     Visualization               A user login so that the Client can access the Visualization Server                               $500 per user,
     User Licensure               site.                                                                                             per month




 1   This pricing is for each database that stores up to one (1) Terabyte of data. Each additional Terabyte of data (beyond the first Terabyte) incurs an
     additional charge of $250 per month.
 2   Please note that Database Archiving fees will apply for all established data visualization sites regardless of whether such sites have active Server
     Users.
                                                                                                                                                            6

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC                        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                                                Page 48 of
                                                            56
                                                                                                     CAH Acquisition Company #1, LLC
                                                                                                      d/b/a Washington County Hospital
                                                                                                 Engagement Letter dated March 11, 2019
                                                                                                   Statement of Work dated April 4, 2019


     2   Evidence Collection Fees


     Forensic Imaging            Forensically sound, bit-by-bit copy of a storage device, including                               $800 – $1,250
                                  chain-of-custody documentation.                                                                  per
                                                                                                                                   Device/Drive
                                                                                                                                   (up to 2 TB)3

     Server Share                Forensically sound, bit-by-bit copy of server share files, including                             $1,000 –
     Logical Image                chain-of-custody documentation.                                                                  $1,200 per
                                                                                                                                   Server Share3

     Backup Tape                 A comprehensive listing of all files resident on a backup tape.                                  $150 – $200
     File Listing                                                                                                                  per Backup
                                                                                                                                   Tape

     Backup Tape                 The extraction of data from a given backup tape to new media.                                    $250 – $300
     Data Extraction                                                                                                               per Backup
                                                                                                                                   Tape3,4

     3   Data Processing and Review
         a. Data Processing


     Processing Set-             Fee related to the steps involved with the ingestion of a logical                                $500 per
     Up                           unit of data processing.                                                                         Logical Unit5

     Processing &                Extracted Data from data sources are processed within an                                         $75 - $150 per
     Review                       eDiscovery platform.                                                                             GB6
     Promotion                   De-duplication can be performed post-processing, either globally
                                  or per custodian.
                                 The promotion of fully processed and delimited subset(s) of data
                                  from the original data sources provided by Client.

     Optical                     Perform Optical Character Recognition (OCR) on additional data                                   $35 per GB7
     Character                    to extract text content upon request
     Recognition




 3   Note that this process requires that content be written to sterile media. The actual cost of such media will be billed separately as an expense.
 4   Extraction of data will be performed as stated above for up to two (2) hours. Extractions that exceed two (2) hours will be charged at the prevailing
     hourly rates until extraction is complete.
 5   A “logical unit” of processing is defined as one data source for one custodian.
 6   The per-GB charge is based upon total data volume to be processed, with total data volume calculated as the raw data volume following the
     extraction and expansion of any container files.
 7   This OCR capability subjects processed data to another layer of machine processing to perform OCR on individuated files. As such, this cost is
     additional to the Processing cost outlined above. Manual quality reviews of machine-based OCR are also available, and such work is performed
     upon request at the prevailing hourly rates.
                                                                                                                                                         7

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC                          Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                                                      Page 49 of
                                                              56
                                                                                                           CAH Acquisition Company #1, LLC
                                                                                                            d/b/a Washington County Hospital
                                                                                                       Engagement Letter dated March 11, 2019
                                                                                                         Statement of Work dated April 4, 2019

      Load File                    Known file exclusion as requested based on public list (e.g. NIST                                       $150 per GB8
      Creation                      Reference Data Set) or list provided by Client.
                                   Processed and indexed data are formatted into an industry-
                                    standard file format, suitable for import into a chosen review
                                    platform.

      Machine                      The use of software to translate file text from one language to                                         $0.12 - $0.15
      Translation                   another                                                                                                 per file9

      Load File                    Importation of data sets that were previously indexed and                                               $125 per GB
      Ingestion                     catalogued by an eDiscovery processing platform.
                                   Upon ingestion, data delimiters (e.g., search terms) can be applied
                                    and made available for review.

         b. Analytics / Hosting / Review


      Document                      Documents are imaged from our eDiscovery Platform into TIFF                                            No unit-based
      Imaging                        or JPG format and made available for redaction, highlighting and                                       charge10
                                     production

      Conceptual                    Group documents into clusters based on conceptual relationships                                        $200 per GB11
      Analytics /                    to help quickly understand the case and identify important topics
      Assisted Review               Automatically categorize documents within a project based upon
      (“Predictive                   training sets coded by a subject matter expert from Client
      Coding”)                      Identification of similar documents by concept or textual analysis
                                     to increase the efficiency of review workflows and enhance
                                     quality control review
                                    Email threading to enable advanced workflows that defensibly
                                     reduce the review population

      User Licensing                Per-user (i.e., per reviewer) monthly license to use the platform                                      $100 per user
                                                                                                                                            per month

      Offline Hosting               Storage of all matter-related data on GT servers.                                                      $5 per GB per
                                                                                                                                            month

      Data Hosting                  Storage of matter-related data on active review platform.                                              $10 - $35 per
                                                                                                                                            GB per month


 8    This charge pertains to the exporting of processed data from a Grant Thornton eDiscovery platform to load in another review platform, and the
      cost range varies based upon data volume.
 9    This $0.15 per-file cost applies to the first 1,000,000 files translated. Files processed in excess of 1,000,000 will be translated at $0.12 per file. Please
      note that files greater than 20KB in size will be split into 20KB segments, with each 20KB segment of a file incurring the translation cost of $0.15
      or $0.12 per file (segment), depending on the current overall count of files. There is a $2,000 minimum charge for machine translation services.
 10   While there is no unit-based charge for document imaging, the time and materials required for the Grant Thornton team to assist with these items
      will be charged at the prevailing hourly rates.
 11   This per-GB charge is a one-time fee incurred when data are added (or “promoted”) to the enhanced Analytics module of the eDiscovery review
      platform.
                                                                                                                                                                      8

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC                         Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                                                    Page 50 of
                                                             56
                                                                                                         CAH Acquisition Company #1, LLC
                                                                                                          d/b/a Washington County Hospital
                                                                                                     Engagement Letter dated March 11, 2019
                                                                                                       Statement of Work dated April 4, 2019


 4       Other Matters
               a.    All other e-Discovery project management aspects are charged on a time-and-material basis at the
                     hourly rates agreed upon within an executed engagement letter. These may include, but are not
                     limited to, the following:
                           Intake, inventory, and cataloguing of received data and evidence;
                           Decryption of encrypted or password-protected file(s)12;
                           Advanced creation of search-term queries and the application of these to existing data
                              sets;
                           Customizations to review, issue codes, or coding panels;
                           Production requests;
                           Creation of customized reports; and
                           Other consultative services, as requested.

         Computer forensics and data analysis procedures will be performed on a time-and-materials basis at the
         hourly rates agreed upon within this Agreement.




 12   Such files will be identified, and a list will be provided to the Client. Written approval is sought and obtained prior to incurring billable time on this
      kind of work.
                                                                                                                                                               9

 Grant Thornton LLP
 U.S. member firm of Grant Thornton International Ltd
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                  Page 51 of
                                            56


                           BUSINESS ASSOCIATE AGREEMENT
                             FOR HEALTH CARE PROVIDERS


    This Agreement is entered into by and between CAH Acquisition Company #1, LLC d/b/a
    Washington County Hospital (“Covered Entity”) and Grant Thornton LLP (“Business
    Associate”) to set forth the terms and conditions under which "Protected Health
    Information"(“PHI”), as defined by the Health Insurance Portability and Accountability Act
    of 1996, and any modifications and/or amendments as may hereinafter, from time to time,
    become effective (HIPAA) as well as Subtitle D of the Health Information Technology for
    Economic and Clinical Health Act (the "HITECH Act"), as Title XIII of Division A and Title
    IV of Division B of the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
    and Regulations enacted thereunder, received by Business Associate on behalf of Covered
    Entity may be used or disclosed.

    This Agreement is subject to approval by the United States Bankruptcy Court for the Eastern
    District of North Carolina and the obligations herein shall continue in effect so long as
    Business Associate uses, discloses, or otherwise possesses any PHI received by and/or on
    behalf of Covered Entity. In the event that there is any conflict between this Agreement and
    the engagement letter between the parties, this Agreement shall control.

    1.       Business Associate may use and disclose PHI created, received, maintained or
    transmitted by Business Associate on behalf of Covered Entity if necessary to perform the
    functions, activities, or services for, or on behalf of, Covered Entity (collectively, the
    “Services”), as specified in Statement of Work, dated April 4, 2019 (the “Services Agreement”),
    or if necessary for the proper management of Business Associate, provided that any disclosure
    is:

            a. Required by Law, or

            b. Business Associate obtains reasonable assurances from the person to whom the
               PHI is disclosed that (i) the PHI will be held confidentially and used or further
               disclosed only as required by law or for the purpose for which it was disclosed to
               the person; and (ii) the Business Associate will be notified of any instances of
               which the person is aware in which the confidentiality of the information is
               breached, or

            c. Required to perform the Services.

    2.      a.      Business Associate hereby agrees to maintain the confidentiality, security and
    privacy of all PHI in a manner consistent with state and federal laws and regulations, including
    the HIPAA, the HITECH Act and Regulations thereunder, and all other applicable law.
    Business Associate shall only use and disclose PHI if such use or disclosure complies with
    each applicable requirement of 45 C.F.R. § 164.504(e). Business Associate shall be directly
    responsible for full compliance with the relevant requirements of the Privacy Rule and the
    Security Rule to the same extent as Covered Entity.
Case 19-00730-5-JNC       Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                    Page 52 of
                                           56


           b.       Furthermore, in the event of an unauthorized use or disclosure of PHI or a
    Breach of Unsecured PHI, Business Associate shall mitigate, to the extent practicable, any
    harmful effects of said unauthorized use or disclosure that are or should be known to it.
    “Breach” shall have the same meaning as the term "breach" in 45 CFR 164.402 and §13400 of
    the HITECH Act and shall include the unauthorized acquisition, access, use, or disclosure of
    PHI that compromises the security or privacy of such information. “Unsecured PHI” shall
    mean PHI that is not secured through the use of a technology or methodology specified by
    the Secretary in guidance or as otherwise defined in 45 CFR 164.402 and § 13402(h) of the
    HITECH Act.

    3.      In respect to the HIPAA security standards as codified in 45 CFR Parts 160 and 164
    (the “Security Rule”), the Business Associate will:

           a. Implement administrative, physical, and technical safeguards that reasonably and
              appropriately protect the confidentiality, integrity, and availability of the Electronic
              Protected Health Care Information or “EPHI”, as defined in 45 CFR Section
              160.103, that it creates, receives, maintains, or transmits on behalf of the Covered
              Entity;

           b. Ensure that any agent, including a subcontractor, to whom it provides such
              information agrees in writing to a Business Associate Agreement no less protective
              than this Agreement including the obligation to comply with the Security Rule; and

           c. Business Associate agrees that it shall request from Covered Entity and disclose to
              its affiliates, subsidiaries, agents and subcontractors or other third parties, only a
              Limited Data Set or, if that is not practicable, only the minimum necessary PHI to
              perform or fulfill a specific function required or permitted hereunder;

           d. Report to the Covered Entity any Security Incident, as defined in 45 CFR Section
              164.304, in the following time and manner:

                   (i)     any actual, successful Security Incident will be reported to the Covered
                           Entity as soon as practicable, and in any event, in writing within ten
                           (10) business days of the date on which the Business Associate
                           becomes aware of such actual successful Security Incident.
                   (ii)    any attempted, unsuccessful Security Incident, of which Business
                           Associate becomes aware, will be reported to Covered Entity in
                           writing, on a reasonable basis, at the written request of Covered Entity.
                           If the Security Rule is amended to remove the requirement to report
                           unsuccessful attempts at unauthorized access, this subsection (ii) shall
                           no longer apply as of the effective date of the amendment of the
                           Security Rule.
Case 19-00730-5-JNC       Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                 Page 53 of
                                           56




    4.     Subject to consistency with the nature of the Services provided, within ten (10)
    business days of receipt of a request from Covered Entity, Business Associate shall provide to
    Covered Entity or, at its direction, to an Individual, PHI relating to that individual held by
    Business Associate or its agents or subcontractors in a Designated Record Set in accordance
    with 45 CFR 164.524.

    5.     Subject to consistency with the nature of the Services provided, within ten (10)
    business days of receipt of a request from Covered Entity, Business Associate agrees to make
    any requested amendment(s) to PHI held by it or any agent or subcontractor in a Designated
    Record Set in accordance with 45 CFR 164.526.

    6.      Within ten (10) business days after Business Associate, its agents or subcontractors
    makes any disclosure of PHI for which an accounting may be required under 45 CFR 164.528,
    Business Associate agrees to provide the information related to such disclosure as would be
    required to respond to a request by an Individual for an accounting in accordance with 45
    CFR 164.528.

    7.      Business Associate further agrees not to use or disclose PHI, except as expressly
    permitted by this Agreement, professional standards (such as those set forth by the American
    Institute of Certified Public Accountants or the SEC) and applicable law.

    8.      Business Associate shall advise members of its workforce of Business Associate's
    privacy and security obligations under this Agreement.

    9.      Business Associate shall not disclose PHI created or received by Business Associate
    on behalf of Covered Entity to a third party, including any agent or subcontractor of Business
    Associate but not including a member of Business Associate's own workforce, until such
    person agrees in writing to be bound by the provisions of this Agreement and applicable state
    or federal law.

    10.    Covered Entity shall inform Business Associate of privacy practices and restrictions
    under HIPAA.

       a. Covered Entity agrees to limit disclosure and access to the minimum amount of PHI,
          to the minimum number of personnel for the minimum of amount of time necessary
          for Business Associate to accomplish the intended purpose of such use, disclosure, or
          request, respectively.
       b. Covered Entity shall notify Business Associate of any limitation(s) in its notice of
          privacy practices of Covered Entity in accordance with 45 CFR § 164.520, to the extent
          that such limitation may affect Business Associate's use or disclosure of Protected
          Health Information.
       c. Covered Entity shall notify Business Associate of any changes in, or revocation of,
          permission by Individual to use or disclose Protected Health Information, to the
          extent that such changes may affect Business Associate's use or disclosure of Protected
          Health Information.
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52                  Page 54 of
                                            56


        d. Covered Entity shall notify Business Associate of any restriction to the use or
           disclosure of Protected Health Information that Covered Entity has agreed to in
           accordance with 45 CFR § 164.522, to the extent that such restriction may affect
           Business Associate's use or disclosure of Protected Health Information.

    11.     Business Associate agrees to maintain a record of all disclosures of PHI, including
    disclosures not made for the purposes of this Agreement. Such record shall include the date
    of the disclosure, the recipient of the PHI, a brief description of the PHI disclosed, and the
    purpose of the disclosure.

    12.     Business Associate agrees to report to Covered Entity any unauthorized use or
    disclosure of PHI by Business Associate or its workforce or subcontractors and the remedial
    action taken or proposed to be taken with respect to such use or disclosure.

    13.     Business Associate agrees to make its internal practices, books, and records relating to
    the disclosure of a client’s confidential information, such as PHI, received from Covered
    Entity, or created or received by Business Associate on behalf of Covered Entity, available to
    the Secretary of the United States Department of Health and Human Services, for purposes
    of determining the Covered Entity’s compliance with HIPAA.

    14.    Within thirty (30) days of a written request by Covered Entity, Business Associate shall
    allow Covered Entity to have access to and to copy PHI maintained by Business Associate (at
    Covered Entity’s sole cost and expense), unless the information held by the Business Associate
    merely duplicates the information maintained by the Covered Entity.

    15.      If Covered Entity determines that the Business Associate has breached a material term
    of this Agreement, Covered Entity may choose to: (i) provide Business Associate with ten (10)
    days written notice of the existence of an alleged material breach; and (ii) afford the Business
    Associate an opportunity to cure said alleged material breach to the satisfaction of Covered
    Entity within ten (10) days. The Business Associate's failure to cure shall be grounds for
    immediate termination of this Agreement and all related Agreements. Covered Entity's
    remedies under this Agreement are cumulative, and the exercise of any remedy shall not
    preclude the exercise of any other.

    16.     Upon termination of this Agreement, Business Associate shall return or destroy all
    original PHI received from Covered Entity, or created, maintained or received by Business
    Associate on behalf of Covered Entity and that Business Associate maintains in any form.
    Business Associate’s work papers may contain copies of PHI. However, Business Associate’s
    work papers shall remain its sole and exclusive property and the protections of this Agreement
    shall extend to such PHI. At all times, Business Associate agrees to maintain the security and
    privacy of any PHI it retains, whether in the form of original PHI or copies, in a manner
    consistent with the obligations of this Agreement and as required by applicable law.

    17.     Covered Entity may amend this Agreement by providing ten business (10) days prior
    written notice to Business Associate in order to maintain compliance with state or federal law.
    Such amendment shall be binding upon Business Associate at the end of the ten (10) day
    period and shall not require the consent of Business Associate. However, Business Associate
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52               Page 55 of
                                            56


    may elect to terminate this Agreement and any related agreements within the ten (10) day
    period, but Business Associate's duties hereunder to maintain the security and privacy of PHI
    shall survive such termination. Covered Entity and Business Associate may otherwise amend
    this Agreement by mutual written agreement and the Parties agree to take any such action as
    is necessary to amend this Agreement from time to time to comply with the requirements of
    HIPAA and any other applicable law.

    18.    Miscellaneous

           a. Regulatory References. A reference in this Agreement to a section of HIPAA Rule
              means the section as in effect or as amended.
           b. Interpretation. Any ambiguity in this Agreement shall be resolved to permit
              Covered Entity to comply with the Privacy Rule.
           c. Definitions. Any terms not defined in this Agreement, shall have the meanings
              provided under HIPAA.
           d. Incorporation. This Agreement is incorporated into, and subject to the terms of,
              the Services Agreement.


    CAH Acquisition Company #1, LLC d/b/a Washington County Hospital



    ____________________________________________________ _________________
    Thomas W. Waldrep Jr., Trustee                       Date



    Grant Thornton LLP



    ____________________________________________________ _________________
    Grant Thornton LLP                                   Date
    Johnny Lee, Principal
Case 19-00730-5-JNC        Doc 128 Filed 04/10/19 Entered 04/10/19 15:55:52              Page 56 of
                                            56



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that this day he served a copy of the foregoing on the

 parties in interest either electronically or by depositing copies of same in a depository under the

 exclusive care and custody of the United States Postal Service, in a postage-paid envelope,

 addressed as follows:

        Marjorie K. Lynch                                    (via CM/ECF)
        Office of the Bankruptcy Administrator

        Rayford K. Adams, III                                (via CM/ECF)
        Counsel for the Debtor


        This the 10th day of April, 2019.

                                        WALDREP LLP

                                        /s/ Thomas W. Waldrep, Jr.         ____________
                                        Thomas W. Waldrep, Jr. (N.C. State Bar No. 11135)
                                        James C. Lanik (N.C. State Bar No. 30454)
                                        Jennifer B. Lyday (N.C. State Bar No. 39871)
                                        Francisco T. Morales (N.C. State Bar No. 43079)
                                        Anne H. Phillips (N.C. State Bar No. 48760)
                                        John R. Van Swearingen (N.C. State Bar No. 53646)
                                        101 S. Stratford Road, Suite 210
                                        Winston-Salem, NC 27104
                                        Telephone: 336-717-1440
                                        Telefax: 336-717-1340
                                        Email: notice@waldrepllp.com
